Case 2:85-cv-04544-DMG-AGR Document 620 Filed 08/08/19 Page 1 of 4 Page ID #:32348




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      5   Special Master / Independent Monitor
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      7
                              UNITED STATES DISTRICT COURT
      8
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
      9
     10
                                                  CASE NO. CV 85-4544-DMG (AGRx)
     11   JENNY LISETTE FLORES, et al.,
     12                                           NOTICE TO THE COURT RE:
                             Plaintiffs,          PROPOSED EXTENSION OF TIME
     13                                           AND MODIFICATION
     14              v.
     15   WILLIAM P. BARR, Attorney
     16   General of the United States, et al.,
     17
                            Defendants.
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                                                                           NOTICE TO THE COURT RE:
                                                       PROPOSED EXTENSION OF TIME AND MODIFICATION
Case 2:85-cv-04544-DMG-AGR Document 620 Filed 08/08/19 Page 2 of 4 Page ID #:32349




      1            On June 10, 2019, the Court ordered Plaintiffs’ Motion to Enforce (re:
      2   Homestead) [Doc. #547-2] be set for mediation with the Monitor. [Doc. #553].
      3   On June 28, 2019, the Court referred Plaintiffs’ Ex Parte Application for a
      4   Temporary Restraining Order and an Order to Show Cause Why a Preliminary
      5   Injunction and Contempt Order Should Not Issue (re: CBP) [Doc #572] to
      6   expedited mediation before the Monitor. [Doc. # 576].
      7            On July 15, 2019, the Court ordered an extension to the briefing schedule
      8   regarding Plaintiffs’ Motion to Enforce (Homestead). [Doc. #602].
      9            On August 2, 2019, Defendants filed a Response in Opposition to
     10   Plaintiffs’ Motion to Enforce Settlement (Homestead). [Doc. #609]. Plaintiffs’
     11   Reply is due on August 16, 2019.
     12            On August 2, 2019, Defendants filed a Motion to Exclude Plaintiffs’
     13   Declarations and Request for an Evidentiary Hearing Before the Special Master.
     14   [Doc. #612]. On August 6, 2019, the Court referred the entirety of Defendants’
     15   Motion to the Monitor. [Doc. #616].
     16            In light of these referrals and pending mediation efforts, and to allow the
     17   parties additional time to respond to the Second Report, the Special
     18   Master/Independent Monitor (“Monitor”) requests the following modifications and
     19   extensions of time for the filing of the Second Report. The Monitor will request a
     20   modified date for the future Reports at a later time.
     21   Modification to the Timing of Reports
     22            Second Report:          Monday, August 19, 2019
     23
     24            No further modifications to the Order Appointing Special Master/
     25   Independent Monitor [Doc #494] are requested.
     26            The Monitor has informed counsel for Plaintiffs and Defendants of this
     27   Notice to the Court Re Proposed Extension of Time and Modification and the
     28   Monitor has received no objections.

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                                                                              NOTICE TO THE COURT RE:
                                                          PROPOSED EXTENSION OF TIME AND MODIFICATION
Case 2:85-cv-04544-DMG-AGR Document 620 Filed 08/08/19 Page 3 of 4 Page ID #:32350




      1   DATED:    August 8, 2019         Respectfully submitted,
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                                           Andrea Sheridan Ordin
      3                                    STRUMWASSER & WOOCHER LLP
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                                           By     /s/ Andrea Sheridan Ordin
      6                                           Andrea Sheridan Ordin
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                                           Special Master / Independent Monitor
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                                                                       NOTICE TO THE COURT RE:
                                                   PROPOSED EXTENSION OF TIME AND MODIFICATION
Case 2:85-cv-04544-DMG-AGR Document 620 Filed 08/08/19 Page 4 of 4 Page ID #:32351




      1                                CERTIFICATE OF SERVICE
      2                              Case No. CV 85-4544-DMG (AGRx)
      3
                 I am a citizen of the United States. My business address is 10940 Wilshire
      4
          Boulevard, Suite 2000, Los Angeles, California 90024. I am over the age of 18 years,
      5
          and not a party to the within action.
      6
      7          I hereby certify that on August 8, 2019, I electronically filed the following
      8   documents with the Clerk of the Court for the United States District Court, Central
      9   District of California by using the CM/ECF system:
     10
          NOTICE TO THE COURT RE: PROPOSED EXTENSION OF TIME AND
     11   MODIFICATION.
     12          I certify that all participants in the case are registered CM/ECF users and that
     13   service will be accomplished by the CM/ECF system.
     14
                 I declare under penalty of perjury under the laws of the United States the
     15
          foregoing is true and correct. Executed on August 8, 2019, at Los Angeles, California.
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                                                               /s/ Lauren S. Guerena
     19                                                           Lauren S. Guerena
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                                                                                NOTICE TO THE COURT RE:
                                                            PROPOSED EXTENSION OF TIME AND MODIFICATION
